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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

                                                 :
JOHN DOE,                                        :
                              Plaintiff,         :
                                                 :
                       v.                        :
                                                 : Civil Action No. 1:18-CV-553-RMC
THE GEORGE WASHINGTON                            :
UNIVERSITY,                                      :
                                                 :
                              Defendant.         :
                                                 :

                              PROTECTIVE AND SEAL ORDER

                  AND NOW, this 11th day of December, 2018, it appearing that:

       1.       Certain information and documents that may be relevant to this civil action may

be of a confidential and/or legally protected nature, including but not limited to education

records protected from disclosure by the Family and Educational Rights and Privacy Act, 20

U.S.C. § 1232g; 34 C.F.R. Part 99 et seq. (“FERPA”); and

       2.       Good cause exists to order that such information, when filed with the Court, be

filed in a nonpublic manner; and

       3.       Good cause exists to order that such information, when exchanged by the parties

in discovery, remain confidential; and

       4.       To facilitate the orderly and lawful exchange of documents in this lawsuit without

undue delay, cost, or burden, an Order clarifying the university’s obligations under FERPA is

warranted.

       It is ORDERED that:

       1.       Documents filed with the Court by any party to this action shall be REDACTED

to remove all personally identifiable information pertaining to any student.



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       2.       Documents filed that identify or contain information relating to any current or

former university student shall be filed UNDER SEAL, with a courtesy copy of any documents

filed under seal provided to all other counsel and to the Court, with a clear header or footer on

each page labeling the document as CONFIDENTIAL.

       3.       Consistent with 20 U.S.C. 1232g and 34 C.F.R. 99.31(a)(9)(i)-(ii), insofar as:

(a) any document in the possession or control of the University is relevant to the claims or

defenses asserted in this civil action and is requested by Plaintiff, and (b) the University has no

other good-faith basis to object to the disclosure of such document apart from its FERPA

obligations, and (c) such document has been redacted to remove identifying information

pertaining to any current or former students; then (d) the University shall produce such document

to Plaintiff notwithstanding and without the obligation to observe the prior notice provisions set

forth in 20 U.S.C. 1232g and 34 C.F.R. Part 99. Nothing in this Order shall be interpreted to

waive, or impede Defendant from asserting, non-FERPA-related objections to requests for

documents or information in this civil action.

       4.       Documents marked as confidential shall be treated as such by the parties. Such

documents may be used only for purposes of this litigation only shall not be disclosed, including

information derived therefrom, to any third party. Confidential documents shall be permanently

deleted and/or destroyed at the conclusion of this civil action.



                                                           BY THE COURT:


                                                           ______________________________
                                                            Collyer, J.




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